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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN



UNITED STATES OF AMERICA,
                                              Case No. 2:24-cr-20532
      Plaintiff,
                                              Hon. Susan DeClercq
vs

WILLIAM A. SMITH,

     Defendant.
__________________________________________________________________

     STIPULATED ORDER TO ADJOURN SENTENCING HEARING

      NOW COME the parties, the United States of America (“Plaintiff”), by and

through AUSA, Robert A. Moran, and William A. Smith (“Defendant”), by and

through his counsel, Gerald K. Evelyn, do hereby enter this stipulation adjourning

the March 20, 2025, 2:00 p.m. Sentencing Hearing to April 24, 2025, at 10:00 a.m.




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      Therefore, the parties stipulate that the Sentencing Hearing is adjourned from

March 20, 2025, at 2:00 p.m. to April 24, 2025, at 10:00 a.m.

      So stipulated:

/s/ Robert A. Moran (w/consent)               s/ Gerald K. Evelyn
Robert A. Moran                               Gerald K. Evelyn
Assistant United States Attorney              409 East Jefferson Ave., Ste. 500
211 W. Fort Street, Suite 2001                Detroit, MI 48226
Detroit, MI 48226                             (313) 962-3500
(313) 226-9553                                geraldevelyn@yahoo.com
robert.moran@usdoj.gov                        Counsel for Defendant
Counsel for Plaintiff




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN



UNITED STATES OF AMERICA,
                                                  Case No. 2:24-cr-20532
      Plaintiff,
                                                  Hon. Susan DeClercq
vs

WILLIAM A. SMITH,

     Defendant.
__________________________________________________________________

   ORDER GRANTING ADJOURNMENT OF SENTENCING HEARING

      The Court having been advised in the premises, and with the stipulation of the

parties, does hereby order that the March 20, 2025, 2:00 p.m., Sentencing Hearing

is adjourned to April 24, 2025, at 10:00 a.m.



Dated:                                          /s/
                                                Susan DeClercq
                                                United States District Judge




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